                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA


SHELIA F. WARREN                     )
                                     )
          Plaintiff,                 )
                                     )
     v.                              )                           Civil Action No. 5:14-cv-00071
                                     )
                                     )
THE SMITHFIELD PACKING COMPANY, INC.
                                     )
                                     )
          Defendant.                 )
                                     )

                                    NOTICE OF REMOVAL

       PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1332, 1441, and 1446 and Fed.

R. Civ. P. 11, The Smithfield Packing Company, Inc. (“Smithfield” or “Defendant”), hereby

removes this action from the Harnett County, North Carolina General Court of Justice, Superior

Court Division to the United States District Court for the Eastern District of North Carolina, and

respectfully submits the following to this Honorable Court:

       1.      On or about January 6, 2014, Plaintiff Shelia Warren (“Plaintiff”) filed a

complaint against Defendant in the Harnett County, North Carolina General Court of Justice,

Superior Court Division, styled Shelia F. Warren v. The Smithfield Packing Company,

Incorporated, Case No. 14-CVS-00022. A complete copy of all process and pleadings is

attached hereto as Exhibit 1. Upon information and belief, these documents constitute all

process and pleadings filed in the state court action to date.

       2.      Defendant was served with the Complaint by certified U.S. Mail. Defendant

received the Complaint on January 8, 2013. Defendant’s Notice of Removal is thus timely filed

within thirty (30) days of Defendant’s receipt of the Complaint pursuant to 28 U.S.C. § 1446(b).




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          3.     This Court has original jurisdiction over this civil action pursuant to 28 U.S.C. §

1332(a) and the action may be removed to this Court under 28 U.S.C. § 1441 and § 1446

because: (1) there is a complete diversity of citizenship between Plaintiff, a citizen of North

Carolina, and Defendant, a citizen of Delaware and Virginia, and (2) the amount in controversy

exceeds the sum or value of $75,000, exclusive of interest and costs.

                                   DIVERSITY OF CITIZENSHIP

          4.     Upon information and belief and as alleged in Paragraph 1 of Plaintiff’s

Complaint, at the time this action commenced, Plaintiff Shelia Warren was a citizen and resident

of Dunn, Harnett County, North Carolina.

          5.     Defendant’s citizenship is determined by its state of incorporation and principal

place of business. See 28 U.S.C. § 1332(c)(1). Defendant is organized and incorporated under

the laws of the State of Delaware and maintains its principal place of business in Smithfield,

Virginia. A corporation’s principal place of business is its “nerve center.” See Hertz Corp. v.

Friend, 559 U.S. 77, 93 (2010) (defining the phrase “principal place of business” in 28 U.S.C. §

1332(c)(1) as the place where a corporation’s high level officers direct, control, and coordinate

the corporation’s activities; this “nerve center” is typically the location of corporate

headquarters). Defendant’s corporate headquarters, in Smithfield, Virginia, is where

Defendant’s officers direct, control, and coordinate Defendant’s activities. Plaintiff pleads in

Paragraph 2 of her Complaint that Defendant’s “principal office” is located in Virginia.

Therefore, complete diversity of citizenship exists between Plaintiff and Defendant in this

matter.




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                                 AMOUNT-IN-CONTROVERSY

       6.      Plaintiff’s Complaint alleges that she was wrongfully discharged in violation of

North Carolina public policy. She alleges that her damages are “continuing in nature” and

include loss of past and future income and benefits. (Compl. ¶ 93). In addition, Plaintiff

demands damages for “mental anguish” and “mental stress.” (Id. at ¶ 93). Plaintiff further

demands punitive damages. (Id. at ¶ 94). Where, as here, punitive damages are permitted under

applicable law, the demand for such damages may be included in determining whether the

jurisdictional amount is satisfied. See Griffin v. Holmes, 843 F. Supp. 81, 85 (E.D.N.C. 1993)

(holding that the plaintiff’s request for punitive damages should be included in the amount in

controversy); see also Turner v. CTS Con-Way Transp. Servs., No. 1:98CV00624, 1999 WL

1939243, at *2 (M.D.N.C. Apr. 28, 1999) (same). Under North Carolina law, punitive damages

awarded against a defendant may be three times the amount of compensatory damages or two

hundred fifty thousand dollars ($250,000), whichever is greater. N.C.G.S. § 1D-25(b). Thus, it

appears from the face of the Complaint and the aggregation of the damages demanded that the

amount in controversy exceeds $75,000, exclusive of interest and costs. Therefore, Plaintiff

alleges damages in her Complaint that meet or exceed the amount in controversy requirement set

forth in 28 U.S.C. § 1332.

       7.      To the extent Plaintiff’s Complaint is unclear with respect to the amount in

controversy, pursuant to the Federal Courts Jurisdiction and Venue Clarification Act, where “the

State practice either does not permit demand for a specific sum or permits recovery of damages

in excess of the amount demanded,” such as North Carolina, the Court determines whether the

jurisdictional amount is met by a “preponderance of the evidence.” 28 U.S.C. § 1446(c)(2)(A)

and (B).




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       8.      Additional evidence confirms that Plaintiff seeks more than $75,000, exclusive of

interest and costs. This additional evidence is a settlement demand made by Plaintiff’s counsel

to Defendant in the amount of $256,000.00 (December 2, 2013 Email from Jeremy Leonard to

Defendant, attached as Exhibit 2) approximately one month prior to the filing of Plaintiff’s

Complaint. Settlement demands are properly considered in determining the amount in

controversy for purposes of removal jurisdiction. See, e.g., Adamson v. Big Lots Stores, Inc., No.

5:13-CV-238-BO, 2013 WL 5308074, at *1 (E.D.N.C. Sep. 20, 2013) (considering settlement

negotiations in determining that amount in controversy exceeded $75,000); Wood v. General

Dynamics Advanced Information Systems, Inc., No. 1:08CV624, 2009 WL 1687967, at * 3

(M.D.N.C. June 17, 2009) (same); Crespo v. Delta Apparel, Inc., No. 5:07CV65-V, 2008 WL

2986279, at *3 (W.D.N.C. July 31, 2008) (same); Green v. Metal Sales Mfg. Corp., 394 F. Supp.

2d 864, 866 (S.D. W. Va. 2005) (same).

       9.      Therefore, from a plain reading of Plaintiff’s Complaint, as well as by a

preponderance of the evidence provided to the Court, the amount-in-controversy in this matter

exceeds $75,000, exclusive of interests and costs.

                             OTHER REMOVAL REQUIREMENTS

       10.     The United States District Court for the Eastern District of North Carolina is the

Court for the district and division embracing the place in which Plaintiff’s state court action was

pending. Removal to this Court is therefore proper under 28 U.S.C. § 1441(a).

       11.     Defendant will provide written notice of the filing of this Notice of Removal to

Plaintiff, and a copy of this Notice of Removal is being filed with the Clerk of Harnett County




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General Court of Justice, Superior Court Division, pursuant to 28 U.S.C. § 1446(d). A true and

correct copy of the Notice of Filing of Notice of Removal is attached as Exhibit 3.1

       13.     Defendant submits this Notice of Removal without waiving any defenses to the

claims asserted by Plaintiff and without conceding that Plaintiff has alleged claims upon which

relief may be granted.

       WHEREFORE, Defendant respectfully requests that the above-captioned action be

removed to the United States District Court for the Eastern District of North Carolina, and that

this Court assume full jurisdiction over this action as provided by law, to the exclusion of any

further proceedings in the state court.

       This 7th day of February, 2014.


                                          HUNTON & WILLIAMS LLP


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         To prevent unnecessary duplication, Defendant has not attached a second copy of this
pleading to Exhibit 3, but hereby incorporates it therein by reference.



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                       *Licensed to practice in Virginia
                       Will enter a Special Appearance

                       Attorneys for Defendant




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 7th day of February, 2014, I caused a copy of the foregoing
NOTICE OF REMOVAL to be electronically filed with the Clerk of Court using the CM/ECF
system and to be sent by first-class mail, postage prepaid, addressed to the following:

                      Jeremy R. Leonard
                      Hairston Lane Brannon, P.A.
                      North State Bank Building
                      230 Fayetteville Street, 3rd Floor
                      Raleigh, North Carolina 27601

                      Attorneys for Plaintiff Shelia F. Warren



                                                 /s/ Melissa A. Romanzo____________________
                                                    Melissa A. Romanzo




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